  Case:17-03283-LTS Doc#:12998-20 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 44 -Puerto Rico Public Finance Corporation 2003 Series A Bonds Official Page 1 of 3




                                EXHIBIT 44
  Case:17-03283-LTS Doc#:12998-20 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 44 -Puerto Rico Public Finance Corporation 2003 Series A Bonds Official Page 2 of 3
  Case:17-03283-LTS Doc#:12998-20 Filed:04/30/20 Entered:04/30/20 11:40:24 Desc:
Exhibit 44 -Puerto Rico Public Finance Corporation 2003 Series A Bonds Official Page 3 of 3
